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               Ad Manager
               Ecosystem 101
               damaz@, thomasbocquet@

               Deck by: michald@




        Recording June 2019:
        https://drive.google.com/file/d/1recWF40EVr02hGyin9jXW44rhG3Xe05H/view




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               Ad Server

                Ad Server is a tool that lets publishers:




                                                                                                             4
                 • Decide where on their pages ads run
                 • Create and manage campaigns
                 • Target campaigns to certain users or places

                Traditionally there is direct relationship between
                advertisers and publishers, campaign assets are sent
                over via email and all configuration is done in the                                      Google Ad Manager
                publisher's ad server based on a signed order form.


                 You can read up more on Ad Servers here.
                 And in general about basis and history of online advertising in all posts in this series.




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               (Ad) Exchange

                (Ad) Exchange is an online, auction-driven




                                                                                                             4
                marketplace where ad impressions are sold and
                bought in real time.
                Publishers can place exchange tags on their
                websites, which will send ad requests to the
                exchange with every impression.
                Bidders can bid for each impression - how much they
                want to pay and what ad they want to display.                                            Google Ad Manager
                Exchange selects the winner and displays the ad.


                 You can read up more on Ad Exchanges here.
                 And in general about basis and history of online advertising in all posts in this series.




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               Supply Side Platform

                SSP is a publisher tool that lets them configure rules




                                                                            4
                that (Ad) Exchanges must adhere to on the publisher
                inventory.
                For example: publishers can set advertisers they don't
                want on their sites (for example competitors) and
                they can set minimum prices for which ads can be
                bought (to protect direct ad sales)
                                                                         Google Ad Manager
                Often SSP and Exchange are bundled as one product
                and both names are used interchangeably.




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